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                                                     October 6, 2021

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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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     RITA AVEDISSIAN, an individual,           CASE NO.: 2:21-CV-00552-SB-AGR
7    KACHIK MOURADIN, an individual,
     and ELIZE ACHJIAN, an individual,
8
                  Plaintiffs,                  ORDER DISMISSING ACTION
9                                              WITH PREJUDICE
             v.
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     NATIONWIDE INSURANCE
11   COMPANY, et al.,
12                 Defendants.
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             GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that,
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     pursuant to the confidential settlement agreement reached in this action, the above-
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     referenced action filed by Plaintiffs Rita Avedissian, Elize Achjian, and Kachik
19
     Mouradin against Defendants Nationwide Mutual Insurance Company, Nationwide
20
     Mutual Fire Insurance Company, and AMCO Insurance Company is hereby
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     dismissed in its entirety with prejudice. Each party shall bear its own costs and
22
     fees.
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             IT IS SO ORDERED.
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     Dated: October 6, 2021
26
                                            Honorable Stanley Blumenfield Jr.
27                                          United States District Court Judge
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